Case 1:19-cv-06570-PKC-MMH Document 81 Filed 08/25/22 Page 1 of 5 PageID #: 1113




  By ECF                                                               August 25, 2022

  The Honorable Marcia M. Henry
  United States District Court
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, NY 11201

         Re: Guan, et al. v. Mayorkas, et al., No. 1:19-cv-06570 (PKC/MMH)

  Dear Judge Henry:

         Pursuant to the parties’ status report dated August 4, 2022 (Dkt. 79), and the Court’s
  order dated August 8, 2022, Plaintiffs file this letter motion to compel Defendants Department
  of Homeland Security (“DHS”), Customs and Border Protection (“CBP), and Immigration and
  Customs Enforcement (“ICE”) to comply with two threshold issues necessary to enable a
  reasonable scope of document discovery in this case. Specifically, Plaintiffs seek an order:

      1. Overruling Defendants’ objection that documents concerning the development,
         implementation, or termination of Operation Secure Line sought by Plaintiffs’ Request
         No. 7 are not “relevant”; and compelling Defendants to produce (a) such documents of
         which Defendants are actually aware, and (b) such additional documents that are
         identified by reasonably-tailored search terms developed in consultation with Plaintiffs.

      2. Overruling Defendants’ objection that documents concerning journalists or members of
         the media in connection with Operation Secure Line sought by Plaintiffs’ Request
         Nos. 10, 26, and 28 are not “relevant”; and compelling Defendants to produce (a) such
         documents of which Defendants are actually aware, and (b) such additional documents
         that are identified by reasonably-tailored search terms developed in consultation with
         Plaintiffs.

       As reported in the parties’ August 4 letter, the parties have discussed these issues on a
  number of occasions in a good faith attempt to resolve them, but have reached an impasse.1



  1In the August 4 status report, Plaintiffs also raised the issue of whether data stored in the
  personal electronic accounts and personal devices of Defendants’ employees are within
  Defendants’ possession, custody, or control. Defendants have since provided additional
  information to Plaintiffs concerning their investigation into these potential sources of ESI. As a
  result of Defendants’ additional disclosures, Plaintiffs believe that this issue is not yet ripe for
  presentation to the Court. Plaintiffs therefore do not move to compel on this issue at this time,
  and instead reserve their rights to bring an appropriate discovery motion at a later date.
Case 1:19-cv-06570-PKC-MMH Document 81 Filed 08/25/22 Page 2 of 5 PageID #: 1114




  The Honorable Marcia M. Henry
  August 25, 2022
  Page 2


  I.     Background

          Plaintiffs are five photojournalists whom Defendants unlawfully stopped and questioned
  at the border in 2018–2019 as part of Operation Secure Line (or “OSL”), a government
  intelligence-gathering operation in which Defendants detained and questioned individuals—
  including journalists, lawyers, and activists—because of their perceived connection to people
  traveling by caravan to reach the U.S.-Mexico border in late 2018. Operation Secure Line has
  been the subject of numerous news reports (e.g., Ex. C), at least two investigations by the
  Department of Homeland Security Office of the Inspector General (e.g., Ex. D), and at least one
  Congressional inquiry (e.g., Ex. E).

          Plaintiffs brought this action to obtain a remedy for Defendants’ violation of their First
  Amendment rights. As the Court explained when it denied Defendants’ motion to dismiss,
  Plaintiffs have plausibly alleged that Defendants violated their rights (and thus are entitled to
  discovery) on two separate grounds: (1) Defendants “target[ed] them for additional scrutiny at
  the United States-Mexico border based on their membership in the media and association with
  their sources,” and (2) Defendants “compell[ed] them to disclose constitutionally protected
  information about their news-gathering and associational activities” through questioning at the
  border. Memorandum & Order, Dkt. 38 at 38–39 (Mar. 30, 2021). Among other things,
  Plaintiffs seek injunctive relief that Defendants be ordered to expunge the records that
  Defendants retain regarding the unlawful questioning of Plaintiffs, and to disclose whether they
  disseminated those records to others. Id. at 20; see also Complaint, Dkt. 1 at 35 (Nov. 20, 2019).

          The parties have been discussing the scope and parameters for document discovery in
  this case since March 2022. In that time, Defendants have refused to agree to two threshold
  issues necessary for Plaintiffs to obtain a reasonable scope of discovery in response to their
  requests for production under Rule 34. See Fed. R. Civ. P. 37(a)(4) (an incomplete disclosure or
  response must be treated as a failure to disclose or respond).

          Without a resolution of these foundational issues, the parties cannot complete their
  ongoing discussions of a reasonably-tailored approach to searching for and producing
  responsive materials—including ESI—in this matter. See Zhulinska v. Niyazov Law Grp., 2021
  WL 5281115, at *2 (E.D.N.Y. Nov. 12, 2021) (“Collection, review, and production of ESI present
  special challenges and require cooperation between opposing counsel and transparency in all
  aspects of preservation and production of ESI.”).

  II.    Legal Standards

          “Parties may obtain discovery regarding any nonprivileged matter that is relevant to any
  party’s claim or defense and proportional to the needs of the case . . . .” Fed. R. Civ. P. 26(b)(1).
  “[T]he party seeking discovery bears the initial burden of proving the discovery is relevant, and
  then the party withholding discovery on grounds of burden or expense bears the burden of
  proving the discovery is in fact unduly burdensome and/or expensive.” Zhulinska, 2021 WL
  5281115, at *2. “‘Relevance’ under Rule 26 is ‘construed broadly to encompass any matter that
  bears on, or that reasonably could lead to other matter that could bear on, any issue that is or
  may be in the case.’” Leytman v. Transp. Sec. Admin., 2021 WL 4430189, at *2 (E.D.N.Y. Sept.
  1, 2021) (quoting Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351 (1978)).
Case 1:19-cv-06570-PKC-MMH Document 81 Filed 08/25/22 Page 3 of 5 PageID #: 1115




  The Honorable Marcia M. Henry
  August 25, 2022
  Page 3


  III.   Documents Concerning Operation Secure Line Are Relevant and Properly
         Subject to Discovery

          Plaintiffs have requested that Defendants produce “[a]ll Documents, including
  Communications, concerning Operation Secure Line (‘OSL’), including the contemplation,
  formulation, development, implementation, operation, enforcement, modification, or
  termination of OSL.” Ex. A at Request No. 7. Despite the central role of Operation Secure Line in
  this case, Defendants have stated that they will produce documents only “to the extent they
  apply to Plaintiffs’ activities alleged in the Complaint.” Ex. B at Response No. 7. According to
  Defendants, nothing else is relevant in response to this request.

          Defendants’ response improperly narrows the scope of reasonable discovery to which
  Plaintiffs are entitled.

           First, Defendants’ response is unclear. Defendants have not adequately explained what
  they mean by documents that “apply to Plaintiffs’ activities alleged in the Complaint.” The issues
  in this case involve Defendants’ activities, not just “Plaintiffs’ activities.” Defendants violated
  Plaintiffs’ First Amendment rights when, among other things, Defendants improperly targeted
  Plaintiffs for additional scrutiny at the border and Defendants compelled them to disclose
  protected information about their news-gathering activities. There is no reasonable basis on
  which to limit production to documents that “apply to Plaintiffs’ activities.”

          Second, even assuming that Defendants intend to produce all documents that may
  mention or refer to Plaintiffs (and, to be clear, that is not the unambiguous meaning of
  Defendants’ production commitment), that scope of discovery still would be improperly narrow.
  Documents concerning Operation Secure Line are relevant to issues including how Defendants
  decided to target individuals for additional scrutiny, why Defendants targeted journalists, what
  Defendants were hoping to achieve as a result of that targeting, and whether any governmental
  interest that Defendants claim to be advanced by such targeting and questioning could have
  been achieved through means significantly less restrictive of associational freedoms. See
  Memorandum & Order, Dkt. 38 at 38–52 (discussing elements of Plaintiffs’ First Amendment
  claim). Documents bearing on these issues are relevant regardless of whether the document
  mentions or refers specifically to Plaintiffs or Plaintiffs’ activities.

           Third, Plaintiffs have clarified the scope of this request for Defendants in order to ensure
  that it is reasonably tailored. In the parties’ discovery discussions, Defendants explained that
  one of their objections to this request involves the possibility that it might be construed as
  seeking purely operational documents such as agent work assignments, supply manifests, or
  budget expenditures. Plaintiffs have advised Defendants that they do not seek such operational
  documents in response to this request, and instead clarified that they are seeking documents
  concerning the development, implementation, and termination of Operation Secure Line. Even
  with that clarification, however, Defendants object on grounds of relevance.

          Fourth, Defendants’ fallback argument that this request is unduly burdensome can be
  adequately addressed through a reasonably-tailored set of custodians and search terms. For
  purposes of Defendants’ searches for responsive ESI, the parties have discussed and nearly
  finalized a list of approximately 32 custodians identified by CBP and 8 custodians identified by
Case 1:19-cv-06570-PKC-MMH Document 81 Filed 08/25/22 Page 4 of 5 PageID #: 1116




  The Honorable Marcia M. Henry
  August 25, 2022
  Page 4


  ICE.2 To date, CBP and ICE have run only a filtering set of search terms, which the parties
  designed to enable Defendants to identify a reasonable universe of custodial materials for
  collection. CBP has advised that those initial filtering terms yielded approximately 123,000
  documents, and ICE has advised that those same terms yielded approximately 19,500
  documents. These initial results are not excessive in light of the time period and subject matter
  at issue, and suggest that a reasonably-tailored set of terms indeed can be devised—notably, the
  current results yield an average of just 3,850 documents per CBP custodian, and 2,500 per ICE
  custodian. Plaintiffs provided Defendants with a revised set of proposed search terms on
  August 15 and are willing to work with Defendants in continuing to refine those search terms.

         Nevertheless, Defendants’ current relevancy objection makes it impossible for the parties
  to complete their discussions regarding a reasonably-tailored set of search terms. The parties
  need to know what categories of materials should be targeted by the search terms and what
  documents must be produced as a result.

          To illustrate the issue, Defendants have told Plaintiffs that they will not produce
  documents concerning the development, implementation, or termination of Operation Secure
  Line even if those documents are returned by agreed-upon search terms. In other words, even
  if the parties could devise a set of search terms that yielded a mere 100 documents for review,
  and 50 of them concerned the development, implementation, or termination of Operation
  Secure line but did not “apply to Plaintiffs’ activities alleged in the Complaint,” then Defendants
  still would not produce them. Likewise, Defendants’ current relevancy objection means that
  even if Defendants are actually aware of documents concerning the development,
  implementation, or termination of Operation Secure Line (i.e., without needing to search for
  them), Defendants would not produce those documents either.

         Defendants’ refusal to produce documents concerning the development,
  implementation, or termination of Operation Secure Line on grounds of relevance is improper.
  The Court should overrule the objection and direct Defendants to produce (a) such documents
  of which Defendants are actually aware, and (b) such additional documents that are identified
  by reasonably-tailored search terms developed in consultation with Plaintiffs.

  IV.    Documents Concerning Journalists and Members of the Media in Operation
         Secure Line Are Relevant and Properly Subject to Discovery

           Plaintiffs have requested that Defendants produce three categories of documents, all
  related to journalists and members of the media (in addition to Plaintiffs) in connection with
  Operation Secure Line. See Ex. A at Request Nos. 10, 26, 28. Similar to their objections
  regarding documents concerning Operation Secure Line, Defendants have stated that they will
  produce only documents that “relat[e] to the inclusion of Plaintiffs in the PowerPoint”
  (i.e., Defendants’ way of referring to the database or documents that listed the names of people
  targeted for additional scrutiny at the border), “to the extent they apply to Plaintiffs’ activities

  2Plaintiffs reserve the right to seek the production of materials from additional custodians
  should discovery later reveal that other persons or sources are likely to possess or contain
  relevant materials.
Case 1:19-cv-06570-PKC-MMH Document 81 Filed 08/25/22 Page 5 of 5 PageID #: 1117




  The Honorable Marcia M. Henry
  August 25, 2022
  Page 5


  alleged in the Complaint,” or “concern[] Plaintiffs and the PowerPoint.” Ex. B at Response
  Nos. 10, 26, 28. According to Defendants, nothing else is relevant.

         Again, Defendants’ response improperly narrows the scope of reasonable discovery to
  which Plaintiffs are entitled.

          First, Plaintiffs’ requests are narrowly tailored. Plaintiffs are not seeking documents
  concerning any and all journalists or members of the media who cross the border. Rather, these
  requests all seek documents that specifically relate to Operation Secure Line or the list that
  Defendants developed to target persons in connection with Operation Secure Line. The requests
  seek documents concerning the actual or potential inclusion of journalists or members of the
  media on that list (Request No. 10), or documents concerning journalists or members of the
  media who were actually placed on the list and which have a connection with certain
  investigatory units or programs of Defendants that have been publicly identified as having a role
  in Operation Secure Line (Request Nos. 26, 28).

          Second, these documents are relevant. Of the 59 individuals profiled on the targeting list,
  ten were identified as a journalist or member of the media—the five Plaintiffs here plus five
  others. See Compl. ¶ 33. In addition to being relevant for the same reasons that documents
  concerning Operation Secure Line are relevant (see Part III, above), the documents sought by
  these requests are also relevant to issues including whether Defendants’ conduct toward
  Plaintiffs differed from Defendants’ conduct toward other journalists or members of the media
  in connection with Operation Secure Line or the targeting list.

          Third, as with the documents concerning Operation Secure Line, Defendants’ objections
  that these three requests are unduly burdensome can be adequately addressed through the same
  reasonably-tailored set of custodians and search terms. The threshold issue is not one of burden,
  but of relevance. Again, Defendants’ objection to these three requests on grounds of relevance
  makes it impossible for the parties to complete their discussions regarding a reasonably-tailored
  set of search terms. As before, under Defendants’ current position, Defendants would not
  produce any documents responsive to these requests except for those that fit within Defendants’
  narrow view of relevance, even if such documents were identified by an agreed-upon set of
  search terms or if Defendants actually know of such documents.

         Defendants’ refusal to produce documents concerning journalists and members of the
  media in connection with Operation Secure Line sought by Plaintiffs’ Request Nos. 10, 26, and
  28 on grounds of relevance is improper. The Court should overrule the objection and direct
  Defendants to produce (a) such documents of which Defendants are actually aware, and (b) such
  additional documents that are identified by reasonably-tailored search terms developed in
  consultation with Plaintiffs.

                                                                      Respectfully Submitted,


                                                                      Andrew W. Hahn
  cc:    All counsel of record by ECF
